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                                       IN THE UNITBD STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF DELAWARB

In re:                                                               Chapter   11


HRI Holding Corp.,                                                   Case   No. 19-12415   L_)
                                              Debtor

                                                                     Chapter   11
In re:
                                                                     Case   No. 19-12416   (     )
Houlihan's Restaurants. Inc.,

                                              l)ebtor

                                                                     Chapter   11
In re
                                                                     Case   No. 19-12417   (_)
IIDJG Corp..

                                              Debtor

                                                                     Chapter l1
In re:
                                                                     Case   No. 19-12418   L)
Red Steer, Inc.,

                                              Debtor

                                                                     Chapter I I
In re
                                                                     Case   No. 19-12419   (     )
Sam Wilson's/Kansas, Inc.,

                                              Debtor

                                                                     Chapter 1l
In re:
                                                                     Case   No. 19-12420 (_)
Darryl's of St. Louis County, Inc.,

                                               l)ebtor




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                                                          Chapter   11
In re:
                                                          Case   No. 19-12421    (     )
Darryl's of Overland Park, Inc.,

                                   I)ebtor

                                                          Chapter 1l
ln re
                                                          Case   No. 19-12422    (     )
Houlihan's of Ohio, lnc.,

                                   Debtor

                                                          Chapter   11
In re
                                                          Case   No. 19-12423    (     )
HRI O'F'allon, Inc.,

                                   l)ebtor

                                                          Chapter I I
ln re:
                                                          Case   No. 19-12424    (_)
Algonquin Iloulihan's Restaurant, f,.L.C.,

                                   Debtor.

                                                          Chapter   11
In re:
                                                          Case   No. 19-12425    (_)
Houlihan's'l'exas Holdings, Inc,,

                                   l)ebtor

                                                          Chapter   1   1

ln re:
                                                          Case   No. 19-12426    (     )
Irloulihan's Restaurants of Texas, Inc.,

                                   Debtor.

                                                          Chapter I I
In re:
                                                          Case   No. 19-12427 (___)
Geneva Houlihan's Restaurant, L.L.C.,

                                    Debtor.




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                                                                 Chapter 1l
In re:
                                                                 Case   No. 19-12428 (     )
I{anley Station Houlihan's Restaurant, LLC.

                                       Debtor.

                                                                 Chapter   11
In re
                                                                 Case   No. 19-12429 (_)
JGIL MiII OP LI-C,

                                       Debtor

                                                                 Chapler   11
In re:
                                                                 Case   No. 19-12430   L_)
JGIL Millburn, LLC,

                                       Debtor

                                                                 Chapter l1
In re
                                                                 Case   No. 19-12431 C_)
JGIL Milburn Op LLC,

                                       Debtor

                                                                 Chapter l1
In re
                                                                 Case   No. 19-12432 (__ )
JGIL, LLC,

                                       Debtor

                                                                 Chapter 1l
In re:
                                                                 Case   No. 19-12433 (__)
JGIL Ilolding Corp.,

                                        l)ebtor

                                                                 Chapter   11
In re:
                                                                 Case   No. 19-12434   C_)
JGII- Omaha. LLC,

                                        Debtor




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                                                       Chapter 1l
In re
                                                       Case   No. 19-12435   L_)
I]OP NJ NY, LLC.

                                Debtor

                                                       Chapter l1
In re
                                                       Case   No. 19-12436   C_)
FIOP Farmingdale L[,C,

                                Debtor

                                                       Chapter 1l
In re
                                                       Case   No. 19-12437 (__)
IIOP Cherry Hill LLC,

                                Debtor

                                                       Chapter   11
ln re:
                                                       Case   No. 19-12438   (_)
HOP Paramus I-[,C.

                                Debtor

                                                       Chapter   11
In re
                                                       Case   No. 19-12439   (_)
HOP Lawrenceville LLC,

                                Debtor

                                                       Chapter I I
In re
                                                       Case   No. 19-12440 (__ )
HOP Brick l,LC,

                                Debtor

                                                       Chapter   11
In re
                                                       Case   No. 19-12441   L     )
HOP Secaucus LLC.

                                l)ebtor




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                                                                       Chapter I I
In re
                                                                       Case   No. 19-12442   [_)
HOP Heights LLC,

                                             Debtor

                                                                       Chapter 1l
In re
                                                                       Case   No. 19-12443   (_)
HOP Bayonne L,LC,

                                             I)ebtor

                                                                       Chapter   11
In re:
                                                                       Case   No. 19-12444 (_)
HOP Fairfield l.LCl.

                                             Debtor

                                                                       Chapter l1
In re:
                                                                       Case   No. 19-12445   (_    )
IIOP Ramsey LLC,

                                             Debtor

                                                                       Chapter 1l
In re
                                                                       Case   No. 19-12446   (_)
HOP Bridgewater LLC,

                                              Debtor

                                                                       Chapter l1
In re
                                                                       Case   No. 19^12447   L)
t{OP Parsippany LLC,

                                              Debtor

                                                                       Chapter   11
In re:
                                                                       Case   No. 19-12448   L)
HOP Westbury LLC.

                                              Debtor




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                                                                   Chapter l l
In re
                                                                   Case   No. 19-12449 (_)
HOP Weehawken LLC,

                                         Debtor

                                                                   Chapter   11
In re
                                                                   Case   No. 19-12450   L_)
IIOP New Brunswick Ll-C,

                                         Debtor

                                                                   Chapter   11
In re:
                                                                   Case   No. 19-12451 (     )
HOP Holmclel LLC.

                                         Debtor

                                                                   Chapter   11
In re
                                                                   Case   No. 19-12452 (-)
HOP Woodbridge LI-C,

                                          Debtor

                                                                   Chapter   11
In re:
                                                                   Case   No. 19-12453 (-)
Houlihan's of Chesterfield, Iuc.,

                                          Debtor


               MOTION OF THE DEBTORS FOR ENTRY OF AN ORDBR DIRECTING
                       ADMINI        N OF RELA      APTER 1 1

               The above-captioned debtors and debtors-in-possession (the "Debtors"), by and through

tlreir proposed undersigned counsel, hereby submit this Motion rtf the Debtors                   .þr Entry of an

 Order Directing .Ioint ArJministration of Related Chapter I I Cases (the "Motion"). In support of

this Motion, the Debtors rely on the Declaration o.f Mat.theut R. Manning in Support of                      the




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Debtors' Chupter           Il   Petitions and First Day Pleadings (the "First Day Declaration"),1 and

respectfully state as follows:

                                                  ICTION AND VENU

          1.        The United States Bankruptcy Court for the District of Delaware (the "Court")

has jurisdiction over this Motion pursuant            to 28 U.S.C.     A$   157 and 1334 and the Amended

Standing Order of Referenc¿ from the United States District Court for the District of Delaware

dated February 29,2012. This matter is a core proceeding within the meaning of 28 U.S.C.

$ 157(bX2), and the Court may enter a final clrder consistent with Article              III of the tJnited States

Constitution.2

          2.        The statutory bases for the relief sought herein are section 105(a) of title I 1 of the

United States Code, 1l U.S.C. $$ 101 , et seq. (as amended or modified, the "Bankruptcy Code"),

mle 1015(b) of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and Local

Rule 1015-1. Venue is proper in this district pursuant to 28 tl.S.C. $$ 1408 and 1409.

                                                  BACKGROUND

          3.         On the date hereof (the "Petition Date"), the Debtors commenced the above-

captioned chapter 11 cases (the "Chapter 11 Cases") by each liling a voluntary petition for relief

under chapter 11 of the Bankruptcy Code with the Court.

          4.         The Debtors continue to operate their businesses and manage their properties                 as


debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.


I Except where otherwise indicated, capitalized terms used but not defined in this Motion have the meanings
ascribed to them in the llirst Day Declaration.
2 Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the Unìted States
Bankruptcy Court for the District of Delaware (the "Local Rulel"), the Debtors hereby confinn their consent to
entry oi a final order by this Court in connection with this Motion if it is latel detennined that this Coutt, absent
conient of the parties, cannot enter final orders or judgments consistent with Afticle lll of the United States
Constitution.




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         5.          As of the date of this Motion, no trustee, examiner or statutory committee                  has

been appointed in the Debtors' Chapter 11 Cases.

         6.          Additional information regarding the circumstances leading to the commencement

of these Chapter 11 Cases and information regarding the Debtors'                         businesses and capital

structure is set forth in detail in the First Day Declaration fìled contemporaneously with this

Motion and incorporated herein by reference.

                                           RELIEF REOUESTBD

         7.          By this Motion, the Debtors lequest entry of an order, substantially in the form

attached hereto, directing        joint administration of these Chapter l1 Cases. The Debtors                    also

request that the Clerk         of the Court maintain one       (l) file and one (1) docket for all of these
Chapter 11 Cases, which file and docket shall be the one for HRI Holding Corp.

          8.         The Debtors fuilher request that the caption             of   these Chapter     1l Cases be
modifìed as follows to reflect their.joint administration:

                            IN THE UNITED STATBS BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELA\üARE

In re:                                                         Chapter 1l

HRI HOLDING CORP., et al.l                                     Case   No. 19-12415 L)

                              Debtors.                         (Jointly Administered)


I'Ihe Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number, are:
I{RI Holding Corp. (4677), Iìoulihan's Restaurants, Inc. (8489), HDJG Corp. (3479), Red Steer, Inc. (2214), Sam
Wilson's/Kansas, Inc. (5139), Darryl's of St. Louis County, lnc. (7177),|)arryl's of Overland Park, Inc. (3015),
Houlihan's of Ohio, ìnc. (6410), HRI O'Fallon, Inc. (4539), Algonquin lloulihan's Restaurant, L,.L.C. (0449),
Geneva Houlihan's Restaurant, L.l,.C. (3 156), Hanley Station l-loulihan's Restaurant, LLC (4948), lloulihan's
Texas Holdings, lnc. (5485), Houlihan's Restaurants of Texas, Inc. (4948), .IGIL Mill OP LLC (0741), JGIL
Millburn, LLC (6071), JGIL, Milburn Op LLC (N/A), JGI[,, LLC (5485), JGIL Holding Corp. (N/A), JGIL Omaha,
LLC (5485), HOP NJ NY, LLC (1106), HOP Farmingdale LLC (1273), L{OP Cherry Hill LLC (5012), HOP
Paramus LLC (5154), I-IOP Lawrenceville I.LC (5239),I'IOP Brick l-LC (4416), HOP Secaucus LLC (5946), HOP
Fleights LLC (6017), HOP Bayonne LLC (7185), HOP Fairfield LLC (8068), HOP Ramsey Ll,C (8657), HOP
Bridgewater I-LC (1005). FiOP Parsippany LLC (1520), HOP Westbury L,LC (2352), HOP Weehawken LLC
(2571), HOP New Brunswick LLC (2631), HOP Flolmdel LLC (2638), HOP Woodbridge LI-C (8965), and



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        9.          In addition, the Debtors seek the Court's direction that separate docket entries            be


made on the dockets of each Debtor, other than HRI Holding Corp., substantially similar to the

ftrllowing to ref'lect the joint adrninistration of these Chapter 11 Cases:

                    An order has been entered in this case directing the procedural
                    consolidation and joint adrninistration of the chapter 11 cases of
                    HRI l-lolding Corp. and its aflÌliates. The clocket in the chapter 1l
                    case of I{RI Flolding Corp. Case No. 19-12415 (J           should be
                    consulted fbr all matters affecting this case.

        10.         Finally, the Debtors request that the Court enter an order directing that any

creditor frling a proof of claim against any of the Debtors or their respective estates shall file

such proof of claim against the parlicular Debtor which such claim is asserted, and not against

the Debtors collectively in these jointly administered cases.

                                           BASIS FOR RELIEF

         11.        Bankruptcy Rule 1015(b) provides that if two or more petitions are pending in the

same court by or against a debtor and an aff,rliate, "the court may order a joint administration                 of

the estates." Fed. R. Bankr. P. 1015(b). I-ocal Rule 1015-1 similarly provides that an order of

joint administration may be entered where it is established "that             the   joint administration of two

or more cases pending in this Court under title l1 is wananted and will ease the administrative

burden for the Court and the parties." Del. Bankr. L.R. 1015-1.

         12.        In these Chapter l1 Cases, I{RI l-lolding Corp., Houlihan's Restaurants, Inc., Red

Steer, Inc., Sam Wilson's/Kansas, Inc., Darryl's of St. Louis County, Inc., Darryl's of Overland

Park, Inc., Houlihan's         of Ohio, Inc., FIRI O'Fallon, Inc., Algonquin Houlihan's Restaurant,

L.L.C., Geneva Houlihan's Restaurant, L.L.C.. Hanley Station Houlihan's Restaurant, LLC,

Houlihan's Texas I-Ioldings, Inc., I{oulihan's Restaurants of Texas, Inc.. JGIL                   Mill OP LLC,


Houlihan's of Chesterfield, Inc. (5073). l'he Debtors' corporate headquarters and the rnailing address is 8700 State
Line Road, Suite 100, Lcawood, Kansas 66206.



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.IGIL Millburn, I-LC, JGIL Milburn Op Ll.C. JGIL, LI'C, JGIL Holding Corp., JGIL Omaha,

LLC, HOP NJ NY. LLC, HOP Farmingdale LLC, HOP Cherry Hill LLC, HOP Paramus LLC,

HOP Lawrenceville LLC, HOP Brick LLC, HOP Secaucus t,I-C, HOP Iìeights LLC, HOP

Bayonne     LLC, HOP Fairfield LL,C, HOP Ramsey LLC, HOP Bridgewatet LLC,                                  HOP

Parsippany LLC, FIOP Westbury LLC, HOP Weehawken LLC, HOP New Brunswick LLC,

IIOP Holmdel LLC, HOP Woodbridge LLC, and Houlihan's of Chesterfield, Inc. are wholly-

owned subsidiaries of HDJG Corp. The Debtors thus are "affiliates," as that term is defined in

Bankruptcy Code section          101   (2) and the Court has authority to grant the relief'requested herein.

           13.     'I'he   joint administration of these Chapter 11 Cases will permit the Clerk of the

Clourt   to utilize a single general docket and combine notices to creditors of the Debtors'
respective estates and other parties-in-interest. The Debtors anticipate that numerous notices,

applications, motions, other pleadings, and orders in these Chapter 11 Cases will affect all thirty-

nine (39) Debtors. Joint administration will permit counsel for all parties-in-interest to include

the Debtors' respective cases in a single caption on the numerous documents that will be filed

and served. Joint administration also               will   enable parties-in-interest   in each of the above-

captioned Chapter 11 Cases to be apprised of the various matters before the Court in all cases.

           14.     The entry of an order of joint administration will signif,rcantly reduce the volume

of paper that otherwise would be hled with the Clerk of the Court, render the completion of

various administrative tasks less costly and minimize the number                        of   unnecessary delays.

Moreover, the relief requested by this Motion                will simplify supervision of the administrative

aspects o1'these Chapter I        I Cases by the Office of the lJnited States Trustee. Accordingly, the
relief requested is warranted and will             ease    the administrative burden f.or the Court and the

parties.




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          15.     'Ihe entry of joint administration orders in rnultiple related cases such         as these is

cornmon in this District and elsewhere. See, e.g., In re EdgeMarc Energy Holdings, LLC, Case

No. l9-11104 (BLS) (Bankr. D. Del. June 13, 2019); In re Pernix Sleep, Inc.,              Case   No. 19-10323

(CSS) (Bankr. D. Del. };4ar.22,2019); In re Things Rentembered, Inc., Case No. 19-10234 (KG)

(Bankr. D. Del. Feb. 26, 2019); In re Sea,Star lloldings, Inc., Case No. l8-10039 (CSS) (Bankr.

D. DeI..Ian.8,2018); Inre PeekayAcquisition, LLC, CaseNo. 17-11722 (BLS) (Bankr. D. Del.

Aug. 11,2077); In re Xtera Communications, Inc.,Case No. 16-12577 (KJC) (Bankr. D. Del.

Nov. 18, 2016); In re American Apparel, LLC, Case No. 16-12551 (BLS) (Bankr. D. Del. Nov.

15,2016); In re DirectBuy Holdings, Inc.,Case No. 16-12435 (CSS) (Bankr:. D. Del. Nov. 3,

2016); In re Golfsmith International Holdings, Inc.. Case No. 16-12033 (LSS) (Bankr. D. Del.

Sept. I 5,2016); In re       Filip Technologies, Inc., Case No. 16-12192 (KG) (Bankr. D. Del. Oct. 6,

2016); In re. Ranger Fabrication Managemenl:, LLC, Case No.               l6-l   1565 (MF-W) (Bankr. D. Del.

.Tune   30, 2016).

          16.        For these reasons, the Debtors submit that the relief reqr"rested herein is ìn the best

interests of the Debtors, their estates and creditors, and therefore should be granted.

                                  NOTICE AND NO PRIOR RNOIIF],ST

          17.        Notice of this Motion has been given to the following parties or, in lieu thereof, to

their counsel,    if known: (a) the Office of the United States T'rustee; (b) each of the Debtors'
creditors holding the thirty (30) largest unsecured claims as set forth in the consolidated list filed

with the Debtors' petition; (c) the Lenders; (d) the Internal Revenue Service; (e) the United

States Deparlment         of Justice; and (Ð all parties who have requested notice in these Chapter l1

Cases pursuant         to Bankruptcy Rule 2002. In light o1'the nature of the relief requested in this




(r247.001-w0058651.)                                l1
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Motion, the Debtors respectfully submit that no further notice is necessary. No prior motion for

the relief requested herein has been filed in this or any other court.

         WHEREFORE, for the reasons set forth herein and in the First Day Declaration, the

Debtors respectfully request that this Court enter an order, substantially in the form attached

hereto (a) directing joint administration of these Chapter 11 Cases for procedural purposes only

and (b) granting such other and further relief as is just and proper.

Dated: November          14,2019             LANDIS RATH & COBB LLP
         Wilmington, Delaware
                                                                    d
                                              Adam G. Landis (l.to. 3
                                              Kimberly A. Brown (No. 5138)
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                                              and D ebtor s - In- P o s s e s sion




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